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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

SUSAN MARTINEZ AND         §
                           §
RICKIE MARTINEZ,           §
                           §
                           § Civil Case No.: 1:12-cv-1227
     Plaintiffs,           §
                           §
vs.                        §
                           §
ENHANCED RECOVERY COMPANY, §
                           §
LLC. ,

         Defendant.

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Plaintiff, SUSAN MARTINEZ AND

RICKIE MARTINEZ, and Defendant, ENHANCED RECOVERY COMPANY, LLC.,

stipulate, and the Court hereby orders, as follows:

         The dispute between the parties has been settled; therefore, the claims asserted by

Plaintiff, SUSAN MARTINEZ AND RICKIE MARTINEZ, against Defendant,

ENHANCED RECOVERY COMPANY, LLC., in the above-captioned proceeding are

hereby dismissed, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(ii).with each party

to bear its own fees and costs


Dated: July 18, 2013                   Respectfully Submitted,

                                       By: /s/ Charles N. Lakins
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Dated: July 18, 2013         Respectfully Submitted,

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